     UNITED STATES BANKRUPTCY COURT
     SOUTHERN DISTRICT OF NEW YORK
     ----------------------------------------------------------------      X
                                                                           :                       Chapter 7
     In re:                                                                :
                                                                                                   Case
                                                                           :                       No.          20-10009 (SCC)
     LIBERTY BRIDGE CAPITAL MANAGEMENT                                     :
     GP, LLC, et al.                                                                               (Jointly Administered)
                                                                           :
                                                                           :
                                Debtors. 1                                 :
     ----------------------------------------------------------------      X

     FIFTH INTERIM APPLICATION OF RYNIKER CONSULTANTS, LLC AS FINANCIAL ADVISORS
                   TO THE TRUSTEE AND THE ESTATE FOR COMPENSATION
                FOR SERVICES RENDERED AND REIMBURSEMENT OF EXPENSES
                INCURRED FROM AUGUST 1, 2021 THROUGH DECEMBER 31, 2021

     Name of Applicant:                                                          Ryniker Consultants, LLC
     Authorized to Provide Professional Services to:                             Kenneth P. Silverman, Esq., the chapter 7
                                                                                 trustee of the jointly administered estates of
                                                                                 Liberty Bridge Capital Management GP, LLC,
                                                                                 et al.

     Date of Retention:                                                          February 28, 2020 nunc pro tunc to January 9,
                                                                                 2020


     Interim Period for Which Compensation and                                   August 1, 2021 through December 31, 2021
     Reimbursement is Sought:

     Amount of Interim Compensation Sought as                                       $                           128,075.00
     Actual, Reasonable, and Necessary:

     Amount of Interim Expense Reimbursement                                        $                                  14.40
     Sought as Actual, Reasonable,Pg
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                                       Necessary:
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     Amount of Interim Compensation Sought net of                                   $                           121,685.65
     Holdback:

     This is an:                                                           X     Interim           Final




    1 The Debtors in these cases, along with the last four digits of their federal tax identification numbers are (i) Liberty Bridge

    Capital Management GP, LLC (9236)(Case No. 20-10009); (ii) Cash4Cases, Inc. (8244)(Case No. 20-10010); (iii) Liberty Bridge
    Capital Management IM, LLC (2955)(Case No. 20-10011); (iv) Liberty Bridge Settlement Clearing, LLC (8144)(Case No. 20-
    10012); (v) Liberty Bridge Finco LLC (5215)(Case No. 20-10013); (vi) Liberty Bridge Capital Management, L.P. (6434)(Case
    No. 20-10014); (vii) Diversified Pre-Settlement Portfolio I, a Series of Liberty Bridge Capital Management, L.P. (1925)(Case
    No.20-10015); and(viii) Diversified Pre Settlement Portfolio II, a Series of Liberty Bridge Capital Management, L.P.
    (1660)(Case No. 20-10016).
                          CUMULATIVE TIME SUMMARY BY PROFESSIONAL
                              August 1, 2021 through December 31, 2021




                         Name                 Title          Rate       Hours         Amount
                     Brian Ryniker         Member        $    400.00       159.0    $ 63,600.00
                     Karl Knechtel         Director      $    350.00       126.1    $ 44,135.00
                     Brian Jordan          Director      $    300.00        36.6    $ 10,980.00
                      Erin Carew           Associate     $    200.00        21.6    $   4,320.00
                    Drew Dorflinger        Associate     $    120.00        42.0    $   5,040.00
                                        Total                             385.3     $ 128,075.00




                             CUMULATIVE FEES BY CATEGORY SUMMARY
                                August 1, 2021 through December 31, 2021

                  Category                                             Hours     Amount
                  Case Administration                                       69.0 $ 15,030.00
                  Business Operations                                       27.6 $   6,645.00
                  Claims Administration and Objections                      22.9 $   9,160.00
                  Avoidance Action Analysis                                162.2 $ 56,795.00
                  Financing and Cash Collateral                              4.9 $   1,960.00
                  Asset Disposition                                          6.1 $   2,320.00
                  Litigation                                                30.2 $ 12,065.00
                  Meetings and Communications with Trustee                  31.4 $ 12,510.00
                  Tax                                                        7.3 $   2,920.00
                  Reporting                                                  4.3 $   1,720.00
                  Employment and Fee Applications                           19.4 $   6,950.00
                                      Pg 2 of 9                           385.3 $ 128,075.00
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        UNITED STATES BANKRUPTCY COURT
        SOUTHERN DISTRICT OF NEW YORK
        ----------------------------------------------------------------   X
                                                                           :                      Chapter 7
        In re:                                                             :
                                                                                                  Case
                                                                           :                      No.          20-10009 (SCC)
        LIBERTY BRIDGE CAPITAL MANAGEMENT                                  :
        GP, LLC, et al.                                                                           (Jointly Administered)
                                                                           :
                                                                           :
                                  Debtors. 1                               :
        ----------------------------------------------------------------   X

             FIFTH INTERIM APPLICATION OF RYNIKER CONSULTANTS, LLC AS
               FINANCIAL ADVISORS TO THE TRUSTEE AND THE ESTATE FOR
            COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
                                     EXPENSES
               INCURRED FROM AUGUST 1, 2021 THROUGH DECEMBER 31, 2021

            Ryniker Consultants, LLC ("Ryniker"), as financial advisors for Kenneth P. Silverman,
    Esq., the chapter 7 trustee (the Trustee) of the jointly administered estates of Liberty Bridge
    Capital Management GP, LLC, et al.,1 (the Debtors) hereby seeks interim allowance and
    payment of compensation pursuant to sections327(a) and 328(a) of title 11 of the United States
    Code (the "Bankruptcy Code"), Rule 2014 and 2016 of the Federal Rules of Bankruptcy Procedure
    (the "Bankruptcy Rules"), Rule 2014-1 and 2016-1 of the Local Rules of Bankruptcy Practice and
    Procedure of the United States Bankruptcy Court for the Southern District of New York (the "Local
    Rules")", for the period August 1, 2021 through and including December 31, 2021 (the
    "Application Period"). In Support of this fee application (the "Fee Application"), Ryniker
    respectfully represents as follows:


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    1
      The Debtors in these cases, along with the last four digits of their federal tax identification numbers are (i) Liberty Bridge
    Capital Management GP, LLC (9236)(Case No. 20-10009); (ii) Cash4Cases, Inc. (8244)(Case No. 20-10010); (iii) Liberty Bridge
    Capital Management IM, LLC (2955)(Case No. 20-10011); (iv) Liberty Bridge Settlement Clearing, LLC (8144)(Case No. 20-
    10012); (v) Liberty Bridge Finco LLC (5215)(Case No. 20-10013); (vi) Liberty Bridge Capital Management, L.P. (6434)(Case
    No. 20-10014); (vii) Diversified Pre-Settlement Portfolio I, a Series of Liberty Bridge Capital Management, L.P. (1925)(Case
    No.20-10015); and(viii) Diversified Pre Settlement Portfolio II, a Series of Liberty Bridge Capital Management, L.P.
    (1660)(CaseNo. 20-10016).
                                              JURISDICTION

        1. The Court has subject matter jurisdiction to consider and determine this matter pursuant
           to 28 U.S.C. §§ 157 and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b).
           Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.


                                           STATUTORY BASIS


        2. The statutory predicates for the relief requested herein are: (i) sections 327(a), 330 of the
           Bankruptcy Code; (ii) rule 2016 of the Bankruptcy Rules; and (iii) and 2016-1 of the Local
           Bankruptcy Rules for the Southern District of New York (the "Local Rules").

                                              BACKGROUND

        3. On January 9, 2020 (the Petition Date), each of the Debtors commenced a voluntary case
           under chapter 7 of the Bankruptcy Code for the Southern District of New York (the
           "Court").

        4. On January 3, 2020, Kenneth P. Silverman, Esq., was appointed the interim chapter 7
           trustee of the Debtors estates and on February 4, 2020, the initial section 341 First Meeting
           of Creditors was held and the Trustee duly qualified and has become the permanent
           Trustee.

        5. By order dated on or about February 28, 2020, the Court entered an order approving the
               Retention Application [Docket No. 47] (the Retention Order).

        6. On August 24, 2020, this Court entered an order approving Applicants first application
           for an interim allowance of compensation and reimbursement of expenses in the amount
           of Three Hundred Eighty-One Thousand Sixty-One and 30/100 ($381,061.30) Dollars in
           fees and One Hundred Ninety-Three and 58/100 ($193.58) Dollars in expenses, for a total
           award amount of Three Hundred Eighty-One Thousand Two-Hundred Fifty-Four and
           88/100 ($381,254.88) Dollars (the First Fee Order). Applicant received payment in the
           amount of Three Hundred Five Thousand Forty-Two and 62/100 ($305,042.62) Dollars.

        7. OnDocDecember
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                            9, 2020,
                                  Pg 4 ofthis
                                          9 Court entered an order approving Applicants second
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           application for an interim allowance of compensation and reimbursement of expenses in
           the amount of One Hundred Seventy-Three Thousand One-Hundred Seventy and 00/100
           ($173,170.00) Dollars in fees and One-Thousand Five-Hundred Forty-One and 60/100
           ($1,541.60) Dollars in expenses, for a total award amount of One Hundred Seventy-Four
           Thousand Seven-Hundred Eleven and 60/100 ($174,711.60) Dollars (the Second Fee
           Order). Applicant received payment in the amount of One Hundred Forty Thousand
           Seventy-Seven and 60/100 ($140,077.60) Dollars.

        8. On April 28, 2021, this Court entered an order approving Applicants third application for
           an interim allowance of compensation and reimbursement of expenses in the amount of
            One Hundred Sixty-Eight Thousand Two Seventy-Five and 00/100 ($168,275.00) Dollars
            in fees and Twelve and 50/100 ($12.50) Dollars in expenses, for a total award amount of
            One Hundred Sixty-Eight Thousand Two-Hundred Eighty-Seven and 50/100
            ($1681,287.50) Dollars (the Third Fee Order). Applicant received payment in the
            amount of One Hundred Thirty-Four Thousand Six Thirty-Two and 50/100 ($134,632.50)
            Dollars.

        9. On September 28, 2021, this Court entered an order approving Applicants fourth
           application for an interim allowance of compensation and reimbursement of expenses in
           the amount of One Hundred Ninety-Five Thousand Five Hundred and 00/100
           ($195,500.00) Dollars in fees and One Thousand and 00/100 ($1,000.00) Dollars in
           expenses, for a total award amount of One Hundred Ninety-Six Thousand Nine Hundred
           and 00/100 ($196,500.00) Dollars (the Third Fee Order). Applicant received payment
           in the amount of One Hundred Seventy-Five Thousand Nine Hundred Fifty and 00/100
           ($175,950.00) Dollars.

        10. To date, the aggregate holdback from the Applicant is Ninety-One Thousand Eight
            Hundred and 63/100 ($91,800.63)2 Dollars.



                                               RELIEF REQUESTED

        11. By this Fee Application, Ryniker respectfully requests allowance of compensation of its
            fees in the amount of $128,075.00 for the Application Period. Ryniker submits this Fee
            Application in accordance with the Retention Order. All services for which Ryniker
            requests compensation were performed for, or on behalf of, the Debtors.

        12. Ryniker requests reimbursement of expenses in the amount of $14.40 for the Application
            Period.

                                                BASIS FOR RELIEF

        13. This is the fourth interim fee application filed by Ryniker in these cases. In connection with
             the professional services rendered, by this Fee Application, Ryniker seeks compensation
             in the amount of $128,750.00. The Applicant maintains computerized records of the time
                                      Pg 5 of 9
20-10009-scc expended
               Doc 330 in   the02/03/22
                        Filed    rendering    of the
                                         Entered      professional
                                                  02/03/22 11:12:07 services  required by the Debtors. These
                                                                     Main Document
             records are maintained in the ordinary course of the Applicants business. A detailed
             statement of hours spent rendering professional services to the Debtors in support of
             Rynikers request for compensation for fees incurred during the Application Period is
             attached hereto as Exhibit A.

                          DESCRIPTION OF SERVICES RENDERED


    2
     In this application, the Applicant is requesting the release of 50% of the Holdback ($45,900.32), leaving a 5%
    holdback on all approved services.
        14. Following is a description of the services provided to the Trustee along with the aggregate
            time expended by category.


     Category                                                                       Hours   Amount
     Case Administration
     During the Application Period, Ryniker reviewed and prepared                    73.1 $15,850.00
     workplans. Managed requests and prepared files requested by the
     Department of Justice. Further, Ryniker assisted the Trustee in
     responding to diligence requests.

     Business Operations
     During the Application Period, Ryniker continued to review and                  23.5   $5,825.00
     prepare responses in connection with Clients requesting payoff
     amounts for amounts previously advanced. Preparation of these
     responses including detailed review of the books and records,
     location and review of advance contracts, in various cases proof
     of payment and review and understanding of other related
     documents.


     Claims Administration and Objections
     During the Application Period, Ryniker reviewed claims relating                 25.4 $10,160.00
     to the Debtors' various creditors and analyzed net amounts
     received vs advanced. Ryniker also revised estimated distribution
     analysis.




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     Avoidance Action Analysis
     During the Application Period, Ryniker prepared preliminary                  162.2 $56,795.00
     analyses of potential recovery of chapter 5 claims, including
     analyzing transactions with vendors, insiders, related and/or
     affiliated companies. Further, due to the lack of a general ledger
     prior to 2019, Ryniker compiled and reviewed additional
     information from banking institutions, including credit card
     processors, and continued the preparation of a cash register of all
     known accounts controlled by the Debtors. Ryniker prepared
     summary charts for the Trustee analyzing cash receipts and
     disbursements.

     Financing and Cash Collateral
     During the Application Period, at the request of the lenders,                  2.4    $960.00
     buyers and investors, Ryniker prepared and revised a cash
     collateral budget as well as prepared monthly reports which
     summarizes monthly cash activity and detailed each receipt by
     Client.

     Asset Disposition
     During the Application Period, Ryniker assisted the Trustee in                 6.1   $2,320.00
     reviewing and liquidating the Debtors assets from the corporate
     office and held by the officer. Ryniker prepared an analysis of
     collections to Debtor's bank accounts and compared with cases
     closed in Mighty, noting additional collections not reported.
     Prepared a summary of cases to be reported as closed and
     removed from auction. Includes prepreparation of documents to
     support collections and reconciliation of amounts collected to
     contracts.

     Litigation
     During the Application Period,         Ryniker assisted the Trustee in
                                    Pg 7 of 9
                                                                                   30.2 $12,065.00
     responding
20-10009-scc      to litigation,
             Doc 330              Ryniker
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     substantive consolidation issues. Ryniker also assisted in
     preparation and attended depositions of Debtors insiders.
     Meetings and Communications with Trustee
     During the Application Period, Ryniker participated in                               31.4   $12,510.00
     discussions and attended meetings with various lenders, buyers,
     investors and creditors. Discussions included case status,
     understanding of the cash collateral budget, asset disposition and
     document access, the report on cash flow and collections as well
     as an understanding of potential next steps for the Debtors.


     Employment and Fee Applications
     During the Application Period, Ryniker prepared monthly fee                          19.4    $6,950.00
     summaries for presentation to the Trustee. Additionally,
     prepared and filed Fourth Interim Fee Application.

     Tax
     During the Application Period, Ryniker prepared financial                             7.3    $2,920.00
     statements in anticipation of preparing and filing tax returns.

     Reporting
     During the Compensation Period, Ryniker prepared interested                           4.3    $1,720.00
     parties reports and distributed to interested parties group.

                                                                                         385.3 $128,075.00


        15. The total time, hours and dollars expended by Ryniker for the Application Period
            for the work described above is as follows:

                                         Title           Hours            Amount
                                Member                    159.0      $       63,600.00
                                Director                  162.7      $       55,115.00
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                                Associate
                                       Pg 8 of 9            63.6
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                                                                     $Main Document
                                                                              9,360.00
                                Total                     385.3      $ 128,075.00



               The total blended hourly rate for professional services performed during the
               Application Period is $332.40

        16. Applicant makes this fourth interim application for allowance of fees in the total
            amount of $128,075.00 which it deems to be fair and reasonable and submits that
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      all professional services for which fees are sought were necessary in performing
      its fiduciary obligations in connection with these matters.

   17. Reimbursement of expenses: The Applicant has disbursed sums for actual and
       necessary expenses in the rendition of professional services in this case, and
       requests that it be reimbursed for out-of-pocket expenses aggregating $14.40.


   18. Wherefore, Applicant respectfully requests this court to grant total compensation
       in the amount of $128,075.00 and for reimbursement of out-of-pocket expenses in
       the amount of $14.40.




                                                      Brian Ryniker, CPA, CIRA, CFF
